 Fill in this information to identify your case and this filing:

 Debtor 1                    Elizabeth Ann Wirth
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF WISCONSIN

 Case number            18-26528                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        988 Knollwood Rd                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        West Bend                         WI        53095-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $519,800.00                $259,900.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Washington                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Fair market value as estimated on recent market analysis
                                                                                Jointly owned with sister


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $259,900.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Elizabeth Ann Wirth                                                                                Case number (if known)       18-26528
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Jaguar                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      XJ6                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1987                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  45,000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Vehicle needs a new
         transmission, repair to seats,                              Check if this is community property                                  $900.00                    $900.00
         small rust spots, dent on front                             (see instructions)

         right near tire
         KBB average retail price is less
         than estimated repairs
         Received from parent in 2011


  3.2    Make:       Infiniti                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      M35X                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                215,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Co-signed by M. Wirth (son)
                                                                     Check if this is community property                                $4,000.00                  $2,000.00
                                                                     (see instructions)



  3.3    Make:       Nissan                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Rogue                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2011                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                  77,246                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         NADA clean retail value
                                                                     Check if this is community property                              $10,275.00                 $10,275.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $13,175.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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                                     Case 18-26528-bhl                          Doc 52        Filed 10/19/18                 Page 2 of 9
 Debtor 1       Elizabeth Ann Wirth                                                                 Case number (if known)     18-26528


                                    Household goods and furnishings including beds, night stands,
                                    dressers, dining room table and chairs, sofas, entertainment
                                    center, lamps, rugs, dishes, pots and pans, microwave,
                                    appliances, 1 painting of the lake (local artist) and miscellaneous
                                    personal items that are co-owned with sister                                                                 $1,048.50


                                    Household goods and furnishings that are Ms. Wirth's only (some
                                    table, couch, personal items, books,. memorabilia                                                            $1,200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Electronics: TVs, cell phones                                                                                  $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books, DVDs, and pictures                                                                                      $125.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Used clothing, shoes, and accessories                                                                          $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Costume and/or fine jewelry and watches: mother's engagement
                                    ring, gold necklace with pendants, costume jewelry                                                           $2,500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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 Debtor 1          Elizabeth Ann Wirth                                                                                             Case number (if known)   18-26528


                                            Two dogs, "Noodles" and "Bentley"                                                                                                     $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $5,673.50


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  Port Washington State Bank
                                                                                                  Checking acct # xxx7805
                                                                                                  Savings acct# xxxxxxxx961
                                              17.1.       Checking, savings                       Account balances as of 7/2/18                                             $1,830.00

                                                                                                  Funds held in attorney trust account subject
                                                                                                  to agreement
                                                                                                  Joint with sister, Kristen Eickhorst
                                              17.2.       IOLTA                                   $20,179.13                                                                      $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                  % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:



Official Form 106A/B                                                                       Schedule A/B: Property                                                                 page 4
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 Debtor 1         Elizabeth Ann Wirth                                                                         Case number (if known)      18-26528


                                          Pension                           Ms. Wirth receives $4,013.23 a month in
                                                                            pension from the Wisconsin Retirement
                                                                            System Annuity
                                                                            Value as of 8/2016 when it was valued for Ms
                                                                            Wirth's divorce. It has not been valued since
                                                                            then.                                                                     $529,351.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                            Surrender or refund
Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 5
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                                         Case 18-26528-bhl                Doc 52         Filed 10/19/18              Page 5 of 9
 Debtor 1       Elizabeth Ann Wirth                                                                  Case number (if known)    18-26528
                                                                                                                                     value:

                                         WRS term life insurance policy
                                         No cash surrender value                              Son                                                        $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
        Yes. Describe each claim.........

                                                      Ms. Wirth and her son believe that she has an equitable
                                                      interest in land (Tax Parcel 13-XXX-XX-XXXX.00, Cedarburg,
                                                      Ozaukee County, Wisconsin, 17.07 acres) that should be
                                                      titled to the Wirth Investment Co., but that was incorrectly
                                                      transferred to the Trust in 2007 (95% ownership and 5% to a
                                                      third party. This error was not discovered until 1.5 years ago.
                                                      This claim is disputed by other family members.

                                                      Land valued at $768,000.00 of which she would own 2% (of
                                                      the 95%) due to her 2% interest in the Wirth Investments.                                    Unknown


35. Any financial assets you did not already list
     No
        Yes. Give specific information..

                                                      Wirth Investment Co (Limited Partnership)
                                                      Started 1986 by Debtor's father; the entity became a family
                                                      limited partnership in 2001 formed to manage the corpus of
                                                      Clyde and Joan Wirth Revocable Trust.

                                                      Ms. Wirth has a 2% share in the above-described limited
                                                      partnership - each of 4 siblings has 2% and father (Clyde
                                                      Wirth) owns rest (90%). Upon information and belief, the
                                                      partnership owns nothing and has no debts.

                                                      2015 income $540.00 per K1
                                                      2016 income $740.00 per K1
                                                      2017 income $14,797 per K1 (income due to sale of apartment
                                                      complex Used clothing, shoes, and accessories **not** titled
                                                      to Trust, but the partnership claimed rents as income)                                             $0.00


                                                      Divorce equalization payment $33,236
                                                      Court ordered 9/2017; balance due $28,773.74
                                                      Former spouse filed a Chapter 13 bankruptcy and this debt
                                                      may be discharged.
                                                      Value $0.00                                                                                        $0.00




Official Form 106A/B                                                 Schedule A/B: Property                                                              page 6
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 Debtor 1        Elizabeth Ann Wirth                                                                                             Case number (if known)        18-26528


                                                          Settlement Agreement re partition action filed by John Wirth
                                                          and Mary Wirth
                                                          988 Knollwood, Lots 1 and 2, West Bend WI 53095, was once
                                                          owned by 4 siblings: John, Mary, and Elizabeth "Betsy" Wirth
                                                          and Kristen Eickhorst; John and Mary sued Betsy and
                                                          Kristen in a partition action in Washington County: 15CV547.
                                                          That was settled 9/29/2016. The settlement agreement
                                                          provided some conditions:
                                                          Per the settlement, John and Mary were to quit claim their ¼
                                                          shares in the property to Betsy Wirth and Ms. Eickhorst. SA
                                                          para 4. Also, per agreement, John and Mary Wirth took a
                                                          note and mortgage for $325,000.00 on 988 Knollwood (LOT 1
                                                          and LOT 2). The note was not intended to be paid unless and
                                                          until the family trust made a distribution in the four children's
                                                          favor; however, the SA contained language about the
                                                          possible future sale of one of the lots of the Knollwood
                                                          property. In the event that one lot was sold, in exchange for
                                                          a partial release of the mortgage by John and Mary, the
                                                          proceeds of the sale were to be used were to be used for real
                                                          estate taxes, repairs and and improvements to the remaining
                                                          lot. The lot was sold in 2018 and proceeds are now held by
                                                          Atty Cade in his client trust account. SUBJECT TO THE
                                                          SETTLEMENT AGREEMENT, funds can only be used for
                                                          improvement on Lot 1 (988 Knollwood).                                                                               $10,089.57



 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $541,270.57


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 7
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 Debtor 1         Elizabeth Ann Wirth                                                                                                   Case number (if known)   18-26528

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $259,900.00
 56. Part 2: Total vehicles, line 5                                                                          $13,175.00
 57. Part 3: Total personal and household items, line 15                                                      $5,673.50
 58. Part 4: Total financial assets, line 36                                                                $541,270.57
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $560,119.07               Copy personal property total             $560,119.07

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $820,019.07




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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 Fill in this information to identify your case:

 Debtor 1                    Elizabeth Ann Wirth
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF WISCONSIN

 Case number              18-26528
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Elizabeth Ann Wirth                                                   X
              Elizabeth Ann Wirth                                                       Signature of Debtor 2
              Signature of Debtor 1

              Date       October 9, 2018                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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